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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII
                                                              1:22-cv-00080
  HAWAII LIFE REAL ESTATE                        CIVIL NO. ___________________
  SERVICES, LLC, a Hawaii limited
  liability company,                             DEMAND FOR JURY TRIAL

                          Plaintiff,

              v.

  LOCKET IP LLC,

                          Defendant.


                                DEMAND FOR JURY TRIAL

              Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Hawaii Life

  hereby demands a trial by jury on all issues that are triable of right to a jury in this

  action.

              DATED: Honolulu, Hawaii, February 28, 2022 .


                                       /s/   John W. Kelly
                                       DOUGLAS S. CHIN
                                       JOHN W. KELLY
                                       TONY PEZZANO (pro hac vice pending)
                                       MATTHEW ASBELL (pro hac vice pending)
                                       CHINTAN DESAI (pro hac vice pending)
                                       Attorneys for Plaintiff
                                       HAWAII LIFE REAL ESTATE SERVICES, LLC




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